
PER CURIAM:
| denied. Relator does not identify an illegal term in his sentence, and therefore, his filing is properly construed as an application for post-conviction relief. See State v. Parker, 98-0256 (La. 5/8/98), 711 So.2d 694. As such, it is subject to the time limitation set forth in La.C.Cr.P. art. 930.8. Relator’s application was not timely filed in the district court, and he fails to carry his burden to show that an exception applies. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La. 9/5/95), 660 *678So.2d 1189. In addition, relator’s sentencing claim is not cognizable on collateral review. See La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La. 1/12/96), 665 So.2d 1172; see also State v. Cotton, 09-2397 (La. 10/15/10), 45 So.3d 1030. We attach hereto and make a part hereof the court of appeal’s written reasons denying relator’s writ application.
Relator has now fully litigated at least two applications for post-conviction relief in state court. Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana post-conviction procedure envisions the filing of a second or successive application only under the narrow circumstances provided in La.C.Cr.P. art. 930.4 and within the limitations period as set out m La. C.Cr.P. art. 930.8. Notably, the [^Legislature in 2013 La. Acts 251 amend-e(j that article to make the procedural bars against successive filings mandatory. Relator’s claims have now been fully litigated in accord with La.C.Cr.P. art, 930.6, and this denial is final. Hereafter, unless he can show that one of the narrow exceptions authorizing the filing of a successive application applies, relator has exhausted his right to state collateral review. The district court is ordered to record a minute entry consistent with this per curiam.
I ¡Attachment
*679[[Image here]]
*680illegality jn ⅛⅛- sentence. Instead, he challenges ⅛6 validity .of his habitual ofibfyfe bill of iirforteaflain and ai^üdicatipk'ih lease :#0&gt;2706t Pursuant to ¾⅝ C;Cr.P; áft. 930,¿;.r$laííir -had two ySars feini&amp;e ⅛⅛⅝ bonYtoftc® and sentence ⅛¾⅜⅛⅛ ⅜⅛ to apply for post-convioticfr relief; W«¡ Ad no error. in the trial court's ruling .that .relatoras application, filed. 3⅛⅜ twelve, -years -nfipr ⅛⅛ oonLytcfioná a&amp;d.,sentences became Aál,js untimely, This application ⅛ domed, Gretna, i, Louisiana, As 5Ay of-/íÁ^m..¡yPP_ Á ■13015. JUDGES'® fetpENJ. WINDHORST W " . JUDGED (⅛ G. GRAVOIS ⅛0-JUBGEROfiERT A.-CHAISSON'
